                                    UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF WASHINGTON

 In re:                                                       Case No.

 Coby Scott Wright and                                        CHAPTER 13 PLAN
 Christina Louise Wright,
                                                               X    Original ___ Amended

                             Debtors.                         Date: 02/18/2016

I. Introduction:
A. Debtor is eligible for a discharge under 11 USC § 1328(f) (check one):
  X Yes
     No
B. Means Test Result. Debtor is (check one):
 X   a below median income debtor with a 36 month applicable commitment period
     an above median income debtor with a 60 month applicable commitment period

II. Plan Payments:
No later than 30 days after the filing of the plan or the order for relief, whichever date is earlier, the debtor will
commence making payments to the Trustee as follows:
    A. AMOUNT: $1,524.00
    B. FREQUENCY (check one):
     X Monthly
         Twice per month
         Every two weeks
         Weekly
    C. TAX REFUNDS: Debtor (check one): ___COMMITS; X DOES NOT COMMIT; all tax refunds to funding
         the plan. Committed refunds shall be paid in addition to the plan payment stated above. If no selection is made,
         tax refunds are committed.
    D. PAYMENTS: Plan payments shall be deducted from the debtor’s wages unless otherwise agreed to by the
         Trustee or ordered by the Court.
    E. OTHER:

III.      Plan Duration:
The plan’s length shall not be less than the debtor’s applicable commitment period as defined under 11 U.S.C. §§ 1322(d)
and 1325(b)(4) unless the plan either provides for payment in full of allowed unsecured claims over a shorter period or
is modified post-confirmation. A below median debtor’s plan length shall automatically be extended up to 60 months
after the first payment is due if necessary to complete the plan.

IV.     Distribution of Plan Payments:
Upon confirmation, the Trustee shall disburse funds received in the following order and creditors shall apply them
accordingly, PROVIDED THAT disbursements for domestic support obligations and federal taxes shall be applied
according to applicable non-bankruptcy law:
    A. ADMINISTRATIVE EXPENSES:
        1. Trustee. The percentage set pursuant to 28 USC §586(e).
        2. Other administrative expenses. As allowed pursuant to 11 USC §§ 507(a)(2) or 707(b).
        3. Attorney's Fees: Pre-confirmation attorney fees and/or costs and expenses are estimated to be $3,500.00
             $625 was paid prior to filing. To the extent pre-confirmation fees and/or costs and expenses exceed
             $3,500, an appropriate application, including a complete breakdown of time and costs, shall be filed with
             the Court within 21 days after confirmation.

          Approved attorney compensation shall be paid as follows (check one):



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             a.        Prior to all creditors;
             b.        Monthly payments of $           ;
             c. X All remaining funds available after designated monthly payments to the following
             creditors: Seterus (¶IV.C.1 and 3) and One Main Financial (¶IV.C.4.b). Funds to accumulate from first
             Plan Payment.
             d.        Other:                                                                         .
        If no selection is made, fees will be paid after monthly payments specified in Sections IV.B and IV.C.

   B. CURRENT DOMESTIC SUPPORT OBLIGATION: Payments to creditors whose claims are filed and allowed
   pursuant to 11 USC § 502(a) or court order as follows (if left blank, no payments shall be made by the Trustee):

                 Creditor                                        Monthly amount
                 NONE                                            $______

   C. SECURED CLAIMS: Payments will be made to creditors whose claims are filed and allowed pursuant to 11
   USC § 502(a) or court order, as stated below. Unless ranked otherwise, payments to creditors will be disbursed at
   the same level. Secured creditors shall retain their liens until the payment of the underlying debt, determined under
   nonbankruptcy law, or discharge under 11 USC § 1328, as appropriate. Secured creditors, other than creditors
   holding long term obligations secured only by a security interest in real property that is the debtor’s principal
   residence, will be paid the principal amount of their claim or the value of their collateral, whichever is less, plus per
   annum uncompounded interest on that amount from the petition filing date.

   Interest rate and monthly payment in the plan control unless a creditor timely files an objection to confirmation. If
   a creditor timely files a proof of claim for an interest rate lower than that proposed in the plan, the claim shall be
   paid at the lower rate. Value of collateral stated in the proof of claim controls unless otherwise ordered following
   timely objection to claim. The unsecured portion of any claim shall be paid as a nonpriority unsecured claim unless
   entitled to priority by law.

   Only creditors holding allowed secured claims specified below will receive payment from the Trustee. If the
   interest rate is left blank, the applicable interest rate shall be 12%. If overall plan payments are sufficient, the
   Trustee may increase or decrease post-petition installments for ongoing mortgage payments, homeowner’s dues
   and/or real property tax holding accounts based on changes in interest rates, escrow amounts, dues and/or property
   taxes.

       1.       Continuing Payments on Claims Secured Only by Security Interest in Debtor’s Principal Residence
   and Non-Escrowed Postpetition Property Tax Holding Account (Interest included in payments at contract rate, if
   applicable):

Rank    Creditor                    Nature of Debt               Property              Monthly Payment
__1_    Seterus                     mortgage                     407 NW Vancouver Ave. $1,112.35

       2.      Continuing Payments and Non-Escrowed Postpetition Property Tax Holding Account on Claims
   Secured by Other Real Property (Per annum interest as set forth below):

                                                                                                 Interest
Rank Creditor         Nature of Debt               Property                      Monthly Payment Rate
____ NONE             _________________            _______________               _______         ___%

       3.   Cure Payments on Mortgage/Deed of Trust/Property Tax/Homeowner’s Dues Arrearage:

     Periodic                                                                        Arrears to be      Interest
Rank Payment          Creditor                     Property                          Cured              Rate
__3_ $50 *            Seterus                      407 NW Vancouver Ave.             $18,225            0%

  * Plus all available funds per ¶XII.A below



       4.   Payments on Claims Secured by Personal Property:

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              a. 910 Collateral.
The Trustee shall pay the contract balance as stated in the allowed proof of claim for a purchase-money security interest
in any motor vehicle acquired for the personal use of the debtor(s) within 910 days preceding the filing date of the
petition or in other personal property acquired within one year preceding the filing date of the petition as follows.
Debtor stipulates that pre-confirmation adequate protection payments shall be paid by the Trustee as specified upon the
creditor filing a proof of claim. If no amount is specified, the Trustee shall pay the amount stated as the “Equal Periodic
Payment”.

     Equal                                     Description                    Pre-Confirmation
     Periodic                                  of                             Adequate Protection       Interest
Rank Payment         Creditor                  Collateral                     Payment                   Rate
NONE

              b. Non-910 Collateral.
The Trustee shall pay the value of collateral stated in the proof of claim, unless otherwise ordered following timely
objection to the claim, for a purchase-money security interest in personal property which is non-910 collateral. Debtor
stipulates that pre-confirmation adequate protection payments shall be paid by the Trustee as specified upon the creditor
filing a proof of claim. If no amount is specified, the Trustee shall pay the amount stated as the “Equal Periodic
Payment”.

     Equal                                  Debtor(s)      Description          Pre-Confirmation
     Periodic                               Value of       of                   Adeq. Protection        Interest
Rank Payment         Creditor               Collateral     Collateral           Payment                 Rate
2    $50             One Main Financial     $1,000         1996 Ford            $50                     5%
                                                           Crown Victoria

    D. PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to priority in the
    order stated in 11 USC § 507(a).

    E. NONPRIORITY UNSECURED CLAIMS: From the balance remaining after the above payments, the Trustee
    shall pay filed and allowed nonpriority unsecured claims as follows:

         1.
         Specially Classified Nonpriority Unsecured Claims. The Trustee shall pay the following claims prior to
         other nonpriority unsecured claims as follows:
                                    Amount of           Percentage       Reason for Special
    Rank   Creditor                 Claim               To be Paid       Classification
    NONE                            $_________          ________%

         2.       Other Nonpriority Unsecured Claims (check one):
              a. ____ 100% paid to allowed nonpriority unsecured claims. OR
              b. _X_ Debtor shall pay at least $0.00 to allowed nonpriority unsecured claims over the term of the
              plan. Debtor estimates that such creditors will receive approximately _0_ % of their allowed claims.

V. Secured Property Surrendered:
The secured property described below will be surrendered to the following named creditors on confirmation. Upon
confirmation, all creditors (including successors and assigns) to which the debtor is surrendering property pursuant to
this section are granted relief from the automatic stay to enforce their security interest against the property including
taking possession and sale.

         Creditor                                        Property to be Surrendered
         NONE


VI. Executory Contracts and Leases:



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The debtor will assume or reject executory nonresidential contracts or unexpired leases as noted below. Assumption will
be by separate motion and order, and any cure and/or continuing payments will be paid directly by the debtor under
Section VII, unless otherwise specified in Section XII with language designating that payments will be made by the
Trustee, the amount and frequency of the payments, the ranking level for such payments with regard to other creditors,
the length of the term for continuing payments and the interest rate, if any, for cure payments. Any executory contract
or unexpired lease not assumed pursuant to 11 USC § 365(d) is rejected. If rejected, the debtor shall surrender any
collateral or leased property and any duly filed and allowed unsecured claim for damages shall be paid under Section
IV.E.2.

          Contract/Lease                                Assumed or Rejected
          NONE

VII. Payments to be made by Debtor and not by the Trustee:
The following claims shall be paid directly by the debtor according to the terms of the contract or support or withholding
order, and shall receive no payments from the Trustee. (Payment stated shall not bind any party.)

    A. DOMESTIC SUPPORT OBLIGATIONS: The claims of the following creditors owed domestic support
    obligations shall be paid directly by the debtor as follows:

Creditor                    Current Monthly Support Obligation             Monthly Arrearage Payment
NONE

     B.    OTHER DIRECT PAYMENTS:

Creditor                    Nature of Debt                        Amount of Claim             Monthly Payment
NONE

VIII. Property of the Estate:
Property of the estate is defined in 11 USC § 1306(a). Unless otherwise ordered by the Court, property of the estate
in possession of the debtor on the petition date shall vest in the debtor upon confirmation. However, the debtor shall
not lease, sell, encumber, transfer or otherwise dispose of any interest in real property or personal property without
the Court’s prior approval, except that the debtor may dispose of unencumbered personal property with a value of
$10,000.00 or less without the Court’s approval. Property (including, but not limited to, bonuses, inheritances, tax
refunds or any claim) acquired by the debtor post-petition shall vest in the Trustee and be property of the estate. The
debtor shall promptly notify the Trustee if the debtor becomes entitled to receive a distribution of money or other
property (including, but not limited to, bonuses, inheritances, tax refunds or any claim) whose value exceeds
$2,500.00, unless the plan elsewhere specifically provides for the debtor to retain the money or property.


IX. Liquidation Analysis Pursuant to 11 USC § 1325(a)(4):
The liquidation value of the estate is $0.00. In order to obtain a discharge, the debtor must pay the liquidation value or
the total of allowed priority and nonpriority unsecured claims, whichever is less. Under 11 USC §§ 1325(a)(4) and
726(a)(5), interest on allowed unsecured claims under Section IV.D and IV.E shall be paid at the rate of _n/a_% per
annum from the petition filing date (no interest shall be paid if left blank).

X. Other Plan Provisions:
   A. No funds shall be paid to nonpriority unsecured creditors until all secured, administrative and priority unsecured
   creditors are paid in full, provided that no claim shall be paid before it is due.
   B. Secured creditors shall not assess any late charges, provided payments from the plan to the secured creditor are
   current, subject to the creditor’s rights under state law if the case is dismissed.
   C. The holder of a secured claim shall file and serve on the Trustee, debtor and debtor’s counsel a notice itemizing
   all fees, expenses or charges (1) that were incurred in connection with the claim after the bankruptcy case was filed,
   and (2) that the holder asserts are recoverable against the debtor or the debtor’s principal residence. The notice shall
   be served within 180 days after the date on which the fees, expenses or charges are incurred, per Fed. R. Bankr. P.
   3002.1(c).
   D. Mortgage creditors shall file and serve on the Trustee, debtor and debtor’s counsel a notice of any change in
   the regular monthly payment amount, including any change that results from an interest rate or escrow adjustment,
   no later than 21 days before a payment in the new amount is due, per Fed. R. Bankr. P. 3002.1(b).


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    E. Provision by secured creditors or their agents or attorneys of any of the notices, statements or other information
    provided in this section shall not be a violation of the 11 USC § 362 automatic stay or of privacy laws.


XI. Certification:
    A. The debtor certifies that all post-petition Domestic Support Obligations have been paid in full on the date of
    this plan and will be paid in full at the time of the confirmation hearing. Debtor acknowledges that timely payment
    of such post-petition Domestic Support Obligations is a condition of plan confirmation pursuant to 11 USC §
    1325(a)(8).
    B. By signing this plan, the debtor and counsel representing the debtor certify that this plan does not alter the
    provisions of Local Bankruptcy Form 13-4, except as provided in Section XII below. Any revisions to the form plan
    not set forth in Section XII shall not be effective.

XII. Additional Case-Specific Provisions: (must be separately numbered)
    A. In addition to equal monthly payments pursuant to ¶IV.c.3, Seterus (mortgage arrears) shall receive all
    available funds after attorney fees and administrative expenses in order of rank prior to any payment to priority
    or unsecured creditors.
    B. Debtor anticipates plan will run approximately _60_ months.
    C. The mortgage payment set forth in ¶IV.C.1 shall begin with the trustee’s regular disbursement for April,
    2016 and shall be applied by Seterus as the payment due on May 1, 2016. Mortgage payments due prior to May
    1, 2016 shall be added to the pre-petition arrearage and paid as per ¶IV.C.3.


 /s/ Todd Trierweiler 27845         /s/ Coby Scott Wright          9922                        2/18/16
Attorney for Debtor                 DEBTOR                      Last 4 digits SS#            Date

2/19/16                             /s/ Christina Louise Wright 8353                            2/18/16
Date                                DEBTOR                    Last 4 digits SS#              Date




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